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                                                                  U.S. DSTT COURT
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                                                                      SEP -S P 2:
                    FOR THE SOUTHERN DISTRICT OF GEORGIA

                                   DUBLIN DIVISION               CLt --                - -



UNITED STATES OF AMERICA                      )
                                              )
               v.                             )      CR 308-001
                                              )
DEANDRA GRAHAM                                )



                                        ORDER

       Before the Court are the various pre-trial and discovery motions filed by Defendant

Deandra Graham. The United States of America, by and through its attorney, Edmund A.

Booth, Jr., United States Attorney, and Damn L. McCullough, Assistant United States

Attorney, has filed a combined response to these motions.1

  GENERAL DISCOVERY MOTIONS inc1udin REOIJEST FOR DISCLOSURE
         OF EXCULPATORY AND IMPEACHING MATERIAL

       As to Defendant's general discovery requests, (doe. no. 407-1), the government

responds that it has provided Defendant "open file" discovery in this case. The government




        1 The government responded to the previous round of motions filed in this case. (Doe.
no. 316). As of the date of the entry of this Order, the time to respond to the current round
of motions filed had not yet expired. Nevertheless, given that the Honorable Dudley H.
Bowen, Jr., United States District Judge, is holding a status conference in this case on
Monday, September 8, 2008, the Court will rule on Defendant's motions on the basis of the
information provided by the government in response to similar motions previously filed in
this case. Of course, as noted elsewhere in this Order, counsel will have an opportunity to
raise any existing disputes or unresolved items that are not addressed herein.
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has provided investigative reports, reports of laboratory analysis, and other documentary

materials relevant to this case (attorney and agent work product excepted). Reports of any

statements made by Defendant and reports on any searches and seizures conducted during

the investigation, as well as Defendant's criminal history, have also been provided.

Accordingly, the Court finds that the position ofthe United States Attorney in permitting full

disclosure of the government's file pertaining to this case renders the general discovery

requests MOOT.

        However, to ensure that Defendant's requests are in fact covered by the government's

disclosures, the Court hereby requires counsel for Defendant to submit, not later than five

(5) days from the date of this Order, a written statement describing any existing disputes or

unresolved items that have not been specifically addressed elsewhere in this Order. The

statement should detail the specific items sought and should include a memorandum of law.

        Defense counsel is reminded that dissemination of discovery material beyond that

necessary to the preparation of the defense is prohibited by Loc. Crim. R. 16.1.

        Any discovery material turned over to Defendant shall be maintained by Defendant

and not further disseminated. Failure to comply with the terms of this Order may result in

contemrt proceedings.

        As to the request for disclosure of exculpatory and impeaching information in

 accordance with the principles of Brad y v. Maryland., 373 U.S. 83(1963) and Giglio v.

Uni.ted States, 405 U.S. 150(1972), the Court notes that to some extent, Defendant's request




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exceeds the scope of Brady. Brady material includes information that is favorable to a

defendant and material to the issues of guilt or punishment. Brady, 373 U.S. at 87; United

States v. Agurs, 427 U.S. 97 (1976). This request is GRANTED (doe. no. 407-2) to the

extent that the government must provide all Brady material to Defendant within five (5) days

of the date it is received or its existence becomes known. With regard to impeaching

information, the government must disclose this information seven (7) days prior to trial.

       MOTION FOR EARLY DISCLOSURE OF JENCKS ACT MATERIAL

         The Jencks Act, 18 U.S.C. § 3500, requires the government to provide a defendant

with statements of witnesses immediately following their testimony in court. There is no

authority for the Court to grant an early release or disclosure of that material. United States

v. Sebier, 438 F.3d 1104, 1112 (11th Cir. 2006); United States v. Jordan, 316 F.3d 1215,

 1251 & n.78 (11th Cir. 2003); United States v. Jimenez, 613 F.2d 1373, 1378 (5th Cir.

 1980). However, early disclosure of Jencks Act materials will avoid unnecessary delay and

 inconvenience to the Court and jury. The government does not oppose the motion.

 Therefore, the government is INSTRUCTED to provide Jencks Act materials seven (7) days

 prior to trial to provide defense counsel a meaningful opportunity to assess these statements.2

 (Doe. no. 398).




         2 The Court is aware of the government's disclosure that it has provided Jencks Act
 materials, including the grand jury transcript, in its discovery package (dcc. no. 289; doc. no.
 3l6,p. 1).

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              MOTION TO ALLOW PARTICIPATION IN VOIR DIRE

        This motion is GRANTED (doe. no. 399), subject to the following terms and

conditions:

        (a) Unless otherwise directed by the presiding District Judge, counsel must submit

to the Court, not later than seven (7) days prior to trial, a list of questions which they desire

to ask prospective jurors;

        (b) Counsel shall take notes and avoid asking duplicative questions, unless additional

clarification from a prospective juror is needed; and

        (c) Counsel must address the array in the same order which the Court will later

formulate for use at trial during the cross-examination of the government's witnesses.

                       MOTION TO INTERVIEW WITNESSES
                     UNDER CONTROL OF THE GOVERNMENT

        Defendant filed a motion seeking to interview certain witnesses he believes to be

under the control of the government. (Doc. no. 400). While a defendant is normally entitled

access to prospective witnesses, such as disclosed informants, a defendant must first

demonstrate some good faith effort in attempting to locate these people before the Court will

order the govermnent to make available the locations of these witnesses. Although the

government is not required to make such witnesses available, the government may not

interfere with a defendant's right to interview prospective witnesses. United States v. Manor,

936 F.2d 1238, 1242 (11th Cir. 1991); United States V. Pepe, 747 F.2d 632, 654 (11th Cir.

1984). The Court instructs the government to inform any prospective witnesses under its

control that it is permissible for them to speak freely with defense attorneys, if they so



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choose. Accordingly, the motion to interview is GRANTED as to any witness who so

chooses to be examined by defense counsel prior to trial.3

        SO ORDERED thisS day of September, 2008, at Augusta, Georgia.




                                               W. LEON B,&RFIELD/)
                                               UNITED S1ATES MSTRATE JUDGE




        3However, the government will not be required, as requested by Defendant, to file the
names of prospective witnesses who do not wish to be interviewed and the reasons for their
recalcitrance to be interviewed.
